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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.0.3
                                 Eastern Division

Dominginho Powell
                                         Plaintiff,
v.                                                        Case No.: 1:09−cv−04146
                                                          Honorable Joan B. Gottschall
Payday Loan Stores of Illinois, Inc
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 31, 2011:


        MINUTE entry before Honorable Joan B. Gottschall:Civil case terminated. Mailed
notice(rj, )




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